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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    CANO HEALTH, INC., et al                                         ) Case No. 24-10164 (KBO)
                                                                     )
                             Debtors.1                               ) (Jointly Administered)
                                                                     )

        GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
        ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS



General

       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements
of Financial Affairs (collectively, the “Statements” and, together with the Schedules,
the “Schedules and Statements”) filed by Cano Health, Inc. and certain of its subsidiaries, as
debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11
cases pending in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), were prepared, pursuant to section 521 of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), by the Debtors’ management, with the assistance of the
Debtors’ advisors.

       Although the Debtors’ management has made reasonable efforts to ensure the Schedules
and Statements are as accurate and complete as possible under the circumstances, based on
information available at the time of preparation, inadvertent errors, inaccuracies, or omissions may
have occurred and subsequent information or discovery may result in material changes to these
Schedules and Statements.

        The Schedules and Statements are unaudited and subject to potential adjustment. Because
the Schedules and Statements contain unaudited information and remain subject to further review,
verification, and potential adjustment, there can be no assurance these Schedules and Statements
are complete. Nothing contained in the Schedules and Statements shall constitute a waiver of any
right of the Debtors, and the Debtors reserve all rights, to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including, but
not limited to, the right to dispute or otherwise assert offsets or defenses to any claim reflected in

1     The last four digits of Cano Health, Inc.’s tax identification number are 4224. A complete list of the Debtors in
      the chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent at
      https://www.kccllc.net/CanoHealth. The Debtors’ mailing address is 9725 NW 117th Avenue, Miami, Florida
      33178.
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the Schedules and Statements as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.”

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals and have necessarily relied upon the efforts, statements,
advice, and representations of personnel of the Debtors and the Debtors’ advisors and other
professionals. The Schedules and Statements have been signed by Eladio Gil, Interim Chief
Financial Officer of the Debtors. Accordingly, in reviewing and signing the Schedules and
Statements, Mr. Gil necessarily relied upon the efforts, statements, and representations of the
Debtors’ other personnel and professionals. Mr. Gil has not (and could not have) personally
verified the accuracy of each such statement and representation, including, but not limited to,
statements and representations concerning amounts owed to creditors, classification of such
amounts, and their addresses.

       The Schedules and Statements and Global Notes (as defined below) should not be relied
upon by any persons for information relating to current or future financial conditions, events, or
performances of the Debtors.

        These Global Notes and Statements of Limitation, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) are incorporated by reference in, and comprise an integral part of, all of the
Schedules and Statements, and should be referred to and considered in connection with any review
of the Schedules and Statements.2

Description of the Cases and Reporting Date

        Beginning on February 4, 2024 (the “Petition Date”), the Debtors each commenced with
this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized
to continue to operate their business and manage their properties as debtors in possession pursuant
to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed
in these chapter 11 cases. The Debtors’ chapter 11 cases are being jointly administered for
procedural purposes only pursuant to Bankruptcy Rule 1015(b) and Rule 1015-1 of the Local Rules
of Bankruptcy Practice and Procedure of the United State Bankruptcy Court for the District of
Delaware (the “Local Bankruptcy Rules”) under Case No. 24-10164 (KBO). On February 21,
2024, the Office of the United States Trustee for the District of Delaware appointed the Official
Committee of Unsecured Creditors (the “Creditors’ Committee”). Additional information about
these chapter 11 cases, court filings, and claims information is available on the Debtors’
restructuring website: https://kccllc.net/canohealth.



2   These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
    Statements. The fact that the Debtors have prepared a Global Note with respect to any of the Debtor’s individual
    Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
    exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
    appropriate. Disclosure of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule
    or Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
    exhibit, or attachment.



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       The information contained in (i) Schedules A/B represents data of the Debtors as of
December 31, 2023, except with respect to Part 1, Question 3, which such data represents data of
the Debtors as of the Petition Date, and (ii) Schedules D, E, F, G, and H represents data of the
Debtors as of the Petition Date (such dates, the “Reporting Date”).

Basis of Presentation

        The Debtors prepare consolidated financial statements, which are audited annually.
Combining the assets and liabilities set forth in the Debtors’ Schedules and Statements would
result in amounts that would be substantially different from financial information that would be
prepared on a consolidated basis under Generally Accepted Accounting Principles (“GAAP”).
Therefore, these Schedules and Statements do not purport to represent financial statements
prepared in accordance with GAAP nor are they intended to fully reconcile to the consolidated
financial statements prepared by the Debtors.

        Unlike the consolidated financial statements, these Schedules and Statements reflect the
assets and liabilities of each separate Debtor, except where otherwise indicated. Information
contained in the Schedules and Statements has been derived from the Debtors’ books and records.
The Debtors attempted to attribute the assets and liabilities, certain required financial information,
and various cash disbursements to the particular Debtor entity. However, because the Debtors’
accounting systems, policies, and practices were developed for consolidated reporting purposes,
rather than reporting by legal entity, it is possible that not all assets, liabilities or amounts of cash
disbursements have been recorded with the correct legal entity on the Schedules and Statements.
Moreover, given the Company has gone through several acquisitions since 2020, there have been
limitations related to historical knowledge, which may impact reporting. Accordingly, the Debtors
reserve all rights to supplement and/or amend the Schedules and Statements in this regard.

        Moreover, given, among other things, the uncertainty surrounding the collection and
ownership of certain assets and the valuation and nature of certain liabilities, to the extent a Debtor
shows more assets than liabilities, it is not an admission that the Debtor was solvent as of the
Petition Date or at any time prior thereto. Likewise, to the extent a Debtor shows more liabilities
than assets, it is not an admission that the Debtor was insolvent at the Petition Date or any time
prior thereto.

Amendment

        While reasonable efforts have been made to prepare and file complete and accurate
Schedules and Statements, inadvertent errors or omissions may exist. The Debtors reserve all
rights to amend and/or supplement the Schedules and Statements from time to time as is necessary
or appropriate.

                 General Disclosures Applicable to Schedules and Statements

        1.      Causes of Action. Despite their reasonable efforts to identify all known assets, the
Debtors may not have listed all of their causes of action or potential causes of action against third
parties as assets in their Schedules and Statements. The Debtors reserve all of their rights with
respect to any claims or causes of action. These Global Notes and the Schedules and Statements



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shall not be deemed a waiver of any such claims or causes of actions or in any way prejudice or
impair the assertion of such claims.

       2.       Recharacterization. The Debtors have made reasonable efforts to correctly
characterize, classify, categorize, and designate the assets, liabilities, claims, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements. However, the Debtors
may have improperly characterized, classified, categorized, or designated certain items. The
Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or redesignate items
reported in the Schedules and Statements at a later time as necessary or appropriate.

        3.      Claim Designations. The Debtors reserve all of their rights to dispute, and to assert
setoff rights, counterclaims, and defenses to any claim reflected on their Schedules or Statements
on any grounds, including, but not limited to, amount, liability, priority, status, and classification,
and to otherwise subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.”

        4.     Unliquidated Claim Amounts. Claim amounts that could not be readily
quantified by the Debtors are scheduled as “unliquidated.”

       5.       Undetermined Amounts. The description of an amount as “undetermined” is not
intended to reflect upon the materiality of such amount.

        6.     Court Orders. Pursuant to certain final “first day” orders entered by the
Bankruptcy Court (the “First Day Orders”), the Debtors were authorized (but not directed) to
pay or satisfy, among other things, certain prepetition obligations owing to employees,
employment vendors, insurance and surety providers, banks and credit card providers, customers,
vendors, and taxing authorities. Accordingly, these liabilities may have been or may be satisfied
in accordance with such orders and therefore generally are not listed in the Schedules and
Statements. Regardless of whether such claims are listed in the Schedules and Statements, to the
extent such claims are satisfied pursuant to an order of the Bankruptcy Court (including the First
Day Orders), the Debtors reserve all rights to amend or supplement their Schedules and Statements
as is necessary or appropriate.

         7.      Valuation. In many instances, current market valuations are not maintained by or
readily available to the Debtors. It would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations of all of their
assets. Accordingly, unless otherwise indicated, net book values as of the Reporting Date are
reflected on the Schedules and Statements. Exceptions to this include operating cash, cash
equivalents, and certain other assets. Operating cash is presented as bank balances as of the
Petition Date. Certain other assets, such as investments in subsidiaries and other intangible assets,
are listed at undetermined amounts, as the net book values may vary materially from fair market
values. Amounts ultimately realized may vary from net book value (or other value so ascribed)
and such variance may be material. Accordingly, the Debtors reserve all rights to amend,
supplement, and adjust the value of each asset set forth herein. In addition, the amounts shown for
total liabilities exclude items identified as “unknown” or “undetermined,” and, thus, ultimate
liabilities may differ materially from those stated in the Schedules and Statements.




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       8.      Liabilities. The Debtors have sought to allocate liabilities between the prepetition
and postpetition periods based on the information and research that was conducted in connection
with the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between prepetition and
postpetition periods may change. The Debtors reserve the right to amend the Schedules and
Statements as they deem appropriate in this regard.

        9.      Excluded Assets and Liabilities. The Debtors believe that they have identified,
but did not necessarily value, all material categories of assets and liabilities in the Schedules and
Statements. The Debtors have excluded certain categories of assets, tax accruals, and liabilities
from the Schedules and Statements. The Debtors also have excluded rejection damage claims of
counterparties to executory contracts and unexpired leases that have been or may be rejected (if
any), to the extent such damage claims exist. In addition, certain immaterial assets and liabilities
may have been excluded.

       10.     Personally Identifiable Information. In accordance with the relief granted in the
Order Authorizing Implementation of Procedures to Protect Confidential Patient Information
[Docket No. 90] (the “Patient Confidentiality Order”) and due to the need to protect confidential
information and individual privacy, the home addresses of individuals have been redacted from
the Schedules and Statements.

        11.     Leases. The Debtors have not included in the Schedules and Statements the future
obligations of any operating leases. To the extent that there was an amount outstanding as of the
Petition Date, the creditor has been included on Schedule E/F of the Schedules.

        12.     Contingent Assets. The Debtors believe that they may possess certain claims and
causes of action against various parties. The Debtors may also possess contingent claims in the
form of various avoidance actions they could commence under the provisions of chapter 5 of the
Bankruptcy Code and other relevant non-bankruptcy laws. The Debtors, despite reasonable
efforts, may not have set forth all of their causes of action against third parties as assets in their
Schedules and Statements. The Debtors reserve all of their rights with respect to any claims, causes
of action, or avoidance actions they may have and nothing contained in these Global Notes or the
Schedules and Statements shall be deemed a waiver of any such claims, avoidance actions, or
causes of action or in any way prejudice or impair the assertion of such claims.

       13.      Receivables. The Debtors have included only the aggregate book value of accounts
receivables and have not listed individual customer receivable balance information as the Debtors
consider their customer list to be proprietary and confidential.

        14.     Guarantees and Other Secondary Liability Claims. The Debtors have used
reasonable efforts to locate and identify guarantees and other secondary liability claims
(collectively, “Guarantees”) in their executory contracts, unexpired leases, secured financings,
debt instruments, and other agreements. Where such Guarantees have been identified, they have
been included in the relevant Schedule H for the Debtor or Debtors affected by such Guarantees.
However, certain Guarantees embedded in the Debtors’ executory contracts, unexpired leases,
secured financings, debt instruments, and other agreements may have been inadvertently omitted.




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        15.     Intellectual Property Rights. Exclusion of certain intellectual property should
not be construed to be an admission that such intellectual property rights have been abandoned,
have been terminated or otherwise have expired by their terms, or have been assigned or otherwise
transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
intellectual property should not be construed to be an admission that such intellectual property
rights have not been abandoned, have not been terminated or otherwise expired by their terms, or
have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
 The Debtors have made every effort to attribute intellectual property to the rightful Debtor owner;
however, in some instances, intellectual property owned by one Debtor may, in fact, be owned by
another. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all intellectual property rights.

        16.    Executory Contracts. The Debtors have not set forth executory contracts as assets
in the Schedules and Statements. The Debtors’ executory contracts have been set forth in Schedule
G. In addition, the businesses of the Debtors are complex—the Debtors have made diligent
attempts to properly identify all executory contracts and unexpired leases, but inadvertent errors,
omissions, or over-inclusion may have occurred.

       17.    Estimates. To prepare and file the Schedules as close to the Petition Date as
possible, management was required to make certain estimates and assumptions that affected the
reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
reported amounts of assets and liabilities to reflect changes in those estimates or assumptions.

       18.     Fiscal Year. Each Debtor’s fiscal year ends on December 31.

       19.     Property and Equipment. Unless otherwise indicated, owned property and
equipment are stated at net book value. The Debtors may lease furniture, fixtures, and equipment
from certain third-party lessors. Any such leases are set forth in the Schedules and Statements.
Nothing in the Schedules and Statements is or should be construed as an admission as to the
determination of the legal status of any lease (including whether any lease is a true lease or a
financing arrangement), and the Debtors reserve all rights with respect to same.

         20.    Claims of Third-Party Related Entities. While the Debtors have made every
effort to properly classify each claim listed in the Schedules as being either disputed or undisputed,
liquidated or unliquidated, and contingent or noncontingent, the Debtors have not been able to
fully reconcile all payments made to certain third parties and their related entities on account of
the Debtors’ obligations to such parties. Therefore, to the extent the Debtors have classified their
estimate of claims of a creditor as disputed, all claims of such creditor’s affiliates listed in the
Schedules and Statements shall similarly be considered disputed, whether or not they are
designated as such.

        21.       Interest in Subsidiaries and Affiliates. Cano Health, Inc. (“CHI”) owns the
equity interests in Primary Care (ITC) Intermediate Holdings, LLC (“PCIH”) through 67.72%
economic interests and 100% voting interests. PCIH owns 100% of the membership interests in
Cano Health, LLC (“CH LLC”). CH LLC directly or indirectly owns 100% of the membership
interests in all remaining Debtors. Each Debtor’s Schedule A/B Part 4, Question 15.1 or Statement
Part 13, Question 25 schedules its ownership interests, if any, in subsidiaries and affiliates. Assets


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such as investments in subsidiaries are listed as undetermined amounts as of the Petition Date
because the book values may materially differ from fair market values.

       In order for the Debtors to deliver healthcare services to patients in certain markets, the
Debtors contracted with entities (the “Physicians Groups”) that enabled the Debtors to employ
healthcare providers to contract with managed care payors. Each Physician Group contracted
with the Company through a Management Services Agreement (“MSA”), which allowed such
Physician Groups to provide certain services. Prior to the Petition Date, the Debtors terminated
such MSAs and have sold all or substantially all of the assets of the Physicians Groups.

       Notwithstanding such agreements having been terminated, the Schedules and Statements
for CH LLC provide financial figures for the Physician Groups, which include Cano Health
Texas, PLLC, Cano Health Nevada, PLLC, Cano Health California, PC, CHC Provider Network,
PC and Cano Health Illinois, PLLC.

         22.   Other Paid Claims. To the extent the Debtors have reached any postpetition
settlement with a vendor or other creditor, the terms of such settlement will prevail, supersede
amounts listed in the Schedules and Statements, and shall be enforceable by all parties, subject to
Bankruptcy Court approval. To the extent the Debtors pay any of the claims listed in the Schedules
and Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all
rights to amend and supplement the Schedules and Statements and take other action, as is necessary
and appropriate to avoid overpayment or duplicate payment for such liabilities.

         23.     Insiders. For purposes of the Schedules and Statements, the Debtors define
“insiders” as current or former officers, directors, anyone in control of a corporate Debtor, and
any relative of the foregoing. The listing of a party as an insider for purposes of the Schedules and
Statements is not intended to be, nor should it be, construed as an admission of any fact, right,
claim, or defense and all such rights, claims, and defenses are hereby expressly reserved.
Information regarding the individuals listed as insiders in the Schedules and Statements has been
included for informational purposes only and such information may not be used for: (1) the
purposes of determining (a) control of the Debtors, (b) the extent to which any individual exercised
management responsibilities or corporate decision-making authority over the Debtors, or (c)
whether such individual could successfully argue that he or she is not an insider under applicable
law, including the Bankruptcy Code and federal securities laws, or with respect to any theories of
liability; or (2) any other purpose.

        24.     Payments. The financial affairs and businesses of the Debtors are complex. Prior
to the Petition Date, the Debtors maintained a cash management and disbursement system in the
ordinary course of their businesses (the “Cash Management System”) (as described in greater
detail in the Cash Management Motion [Docket No. 3]). Although efforts have been made to
attribute open payable amounts to the correct legal entity, the Debtors reserve the right to modify
or amend their Schedules and Statements to attribute such payment to a different legal entity, as is
necessary or appropriate. Payments made are listed by the legal entity making such payment
notwithstanding that many such payments may have been made on behalf of another legal entity.

        25.   Totals. All totals that are included in the Schedules and Statements represent totals
of all the known amounts included in the Schedules and Statements. To the extent there are


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unknown or undetermined amounts, the actual total may be different than the listed total. The
description of an amount as “unknown” or “undetermined” is not intended to reflect upon the
materiality of such amount. To the extent a Debtor is a guarantor of debt held by another Debtor,
the amounts reflected in these Schedules are inclusive of each Debtor’s guarantor obligations.

        26.     Governmental or Regulatory Investigations. The Company may, from time to
time, be subject to various information requests, inquiries, or investigations from certain local,
state, or federal regulatory or governmental agencies or authorities. Such information requests,
inquiries, or investigations, may or may not ultimately result in claims asserted against the
Company. No such claims have been asserted at this time and accordingly have not been
scheduled.

Specific Notes Regarding Schedule A/B

        1.      Schedule A/B, Part 1, Question 3 – Checking, Savings, or Other Financial
Accounts, CDs, etc. The information in response to this Schedule lists closing bank balances as
of the Petition Date. See Interest in Subsidiaries and Affiliates ¶ 21 in the Schedules section of
these Global Notes.

         2.    Schedule A/B, Part 2, Questions 5-8 – Deposits and Prepayments. Certain
prepaid or amortized assets are listed in Part 2 in accordance with the Debtors’ books and records.
The amounts listed in Part 2 do not necessarily reflect assets the Debtors will be able to collect or
realize. The amounts listed in Part 2 include, among other things, security and other deposits,
facilities management prepayments and surety deposits.

       Prepaid expenses can consist of cash in advance amounts paid to certain vendors in
connection with the Debtors’ operations.

        Schedule A/B Part 3, Question 11 – Accounts Receivable. The Debtors’ accounts
receivable information includes receivables from the Debtors’ customers, vendors, and other third
parties, which are calculated net of any amounts that, as of the Petition Date, may be owed to such
parties in the form of offsets or other price adjustments. As a value-based healthcare provider, the
Debtors can generate a surplus receivable when medical expenses are lower relative to the gross
revenue for a given health plan. In the ordinary course of business, these surplus receivables may
be offset with previous deficit payables generated under the health plans. Due to the nature of the
surplus calculations, the Debtors do not maintain an aging for their accounts receivable and all
accounts receivable is listed as under 90 days. In certain other circumstances, the Debtors’
accounts receivables may, in the Debtors’ opinion, be difficult to collect from third parties due to
the passage of time or other circumstances.

      3.      Schedule A/B, Part 4, Question 15 – Stock and Interests in Incorporated and
Unincorporated Businesses. The Debtors have not performed a valuation analysis regarding such
ownership interests listed in response to this Schedule.

        4.     Schedule A/B, Part 7, Question 39 and Question 41 – Office Furniture and
Equipment. The Debtors’ office equipment, furnishings, and supplies are capitalized based on
their accounting policies and procedures. The asset values are listed at estimated net book value.
Equipment construction in progress is listed at cost.


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        5.      Schedule A/B, Part 8, Item 50 – Other Machinery and Equipment. Net book
value amounts listed in this Schedule are reflected on a book basis as recorded on the fixed asset
register for each applicable Debtor. Construction in progress is listed at cost.

         6.      Schedule A/B, Part 10, Items 60 and 61 – Patents, Copyrights, Trademarks,
Trade Secrets, Internet Domain Names and Websites. The Debtors’ ownership interests in
their intellectual property are shown as undetermined. The Debtors have not performed a valuation
analysis regarding such assets.

        7.     Schedule A/B, Part 10, Item 63 – Customer Lists, Mailing Lists, or Other
Compilations. The Debtors collect and retain personally identifiable information about their
patients, including names, addresses, phone numbers, medical records, and other information.
Pursuant to the Patient Confidentiality Order, the Debtors have not provided a list of patients, and
the Debtors have not performed a valuation analysis regarding such information.

        8.    Schedule A/B, Part 11, Item 72 – Tax Refunds and Unused Net Operating
Losses (NOLs). The Debtors’ tax advisors are in the process of assessing the nature and quantity
of available NOLs. The analysis is not complete as of the time of the filing of this Schedule, and
the Debtors have listed the values of the NOLs as undetermined.

       9.     Schedule A/B, Part 11, Item 74 – Causes of Action Against Third Parties.
Schedule A/B contains information regarding potential and pending litigation involving the
Debtors. In certain instances, the Debtor that is the subject of the litigation is unclear or
undetermined. To the extent that litigation involving a particular Debtor has been identified,
however, such information is contained in the Schedule for that Debtor (even though the litigation
may actually impact another Debtor or non-Debtor affiliate).

Specific Notes Regarding Schedule D

        Except as otherwise agreed pursuant to a stipulation or agreed order or general order
entered by the Bankruptcy Court, the Debtors reserve their rights to dispute or challenge validity,
perfection, or immunity from avoidance of any lien purported to be granted or perfected in any
specific asset to a secured creditor listed on Schedule D of any Debtor. Moreover, although the
Debtors may have scheduled claims of various creditors as secured claims, the Debtors reserve all
rights to dispute or challenge the secured nature of any such creditor’s claim or the characterization
of the structure of any such transaction or any document or instrument (including, without
limitation, any intercompany agreement) related to such creditor’s claim. Further, while the
Debtors have included the results of Uniform Commercial Code searches, the listing of such results
is not, nor shall it be deemed, an admission as to the validity of any such lien. Conversely, the
Debtors made reasonable, good faith efforts to include all secured creditors on Schedule D, but
may have inadvertently failed to include an existing secured creditor because of, among other
things, the possibility that a lien may have been imposed after the Uniform Commercial Code
searches were performed or a vendor may not have filed the requisite perfection documentation.

       The Debtors have not included on Schedule D parties that may believe their claims are
secured through setoff rights. The Debtors have reported outstanding letters of credit in Schedule
D. Moreover, certain creditors are currently in possession of the Debtors’ property and, therefore,



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may have statutory liens in such property. The Debtors have not done an analysis as to whether
such creditors hold secured claims or the value of the property held by such creditors but have
identified such parties on Schedule D as secured creditors out of an abundance of caution.

        With respect to the Debtors’ funded debt, only the administrative agent(s) have been listed
for purposes of Schedule D. The amounts reflected outstanding under the Debtors’ prepetition
loan facilities reflect principal and interest amounts as of the Petition Date.

        In certain instances, a Debtor may be a co-obligor, co-mortgagor, or guarantor with respect
to scheduled claims of other Debtors, and no claim set forth on Schedule D of any Debtor is
intended to acknowledge claims of creditors that are otherwise satisfied or discharged by other
entities.

        The descriptions provided in Schedule D are intended only as a summary. Reference to
the applicable loan agreements and related documents is necessary for a complete description of
the collateral and the nature, extent, and priority of any liens. Nothing in the Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms of such
agreements.

        Any changes to the status of any liens or security rights since the Petition Date may not be
adequately reflected in Schedule D. Therefore, the Debtors may have listed claims with secured
status that have changed, or failed to list certain parties whose claims may be secured through
rights of setoff, deposits or advance payments posted by, or on behalf of, the Debtors, or judgment
or statutory lien rights on Schedule D.

Specific Notes Regarding Schedule E/F

        1.      Schedule E/F, Part 1, Question 1 – Creditors Holding Priority Unsecured
Claims. The Debtors reserve all rights to dispute the amount and/or the priority status of any
claim on Schedule E/F on any basis at any time. Claims owing to various taxing authorities to
which the Debtors potentially may be liable are included on the Debtors’ Schedule E/F. Certain
of such claims, however, may be subject to ongoing audits and/or the Debtors otherwise are unable
to determine with certainty the amount of the remaining claims listed on Schedule E/F. Therefore,
the Debtors have listed all such claims as unknown in amount, pending final resolution of ongoing
audits or other outstanding issues.

        The Bankruptcy Court entered a Final Order granting authority to the Debtors to pay certain
prepetition employee wage and benefit obligations [Docket No. 245] (the “Employee Wages
Final Order”). Pursuant to the Employee Wages Final Order, the Bankruptcy Court granted the
Debtors authority to pay or honor certain prepetition obligations for employee wages, salaries,
reimbursable employee expenses, and other obligations on account of compensation and benefits
programs. The Debtors have not listed on Schedule E/F any wage or wage-related obligations for
which the Debtors have been granted authority to and have paid or intend to pay pursuant to the
Employee Wages Final Order. The Debtors have not included in the Schedules and Statements (i)
accrued paid time off balances as of the Petition Date, and (ii) any prepetition amounts that may
be due employees, including provider employees, under any discretionary bonus or similar
programs, which were not reconciled prior to the Petition Date. The Debtors have listed in



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Schedule E/F outstanding severance amounts for former employees up to the $15,150 cap. The
Debtors will make available to their employees accrued paid time off balances as of the date of
their termination of employment with the Debtors in accordance with applicable law and will
supplement the Schedules and Statements as necessary.

       2.      Schedule E/F, Part 2, Question 3 – Creditors Holding Nonpriority Unsecured
Claims. The Debtors have used commercially reasonable efforts to list all general unsecured
claims against the Debtors on Schedule E/F based upon the Debtors’ existing books and records.
Trade payables listed on Schedule E/F contain the prepetition liability information available to the
Debtors as of the filing date of the Schedules.

         Schedule E/F does not include certain deferred credits, deferred charges, deferred
liabilities, accruals, or general reserves. Such amounts are general estimates of liabilities and do
not represent specific claims as of the Petition Date; however, such amounts are reflected on the
Debtors’ books and records as required in accordance with GAAP. Such accruals are general
estimates of liabilities and do not represent specific claims as of the Petition Date.

        Schedule E/F does not include certain reserves for potential unliquidated contingencies that
historically were carried on the Debtors’ books as of the Petition Date. Such reserves were for
potential liabilities only and do not represent actual liabilities as of the Petition Date.

       The claims listed in Schedule E/F arose or were incurred on various dates. In certain
instances, the date on which a claim arose is an open issue of fact. Determining the date upon
which each claim in Schedule E/F was incurred or arose would be unduly burdensome and cost
prohibitive and, therefore, the Debtors do not list a date for each claim listed on Schedule E/F.

       Schedule E/F contains information regarding potential and pending litigation involving the
Debtors. In certain instances, the Debtor that is the subject of the litigation is unclear or
undetermined. To the extent that litigation involving a particular Debtor has been identified,
however, such information is contained in the Schedule for that Debtor (even though the litigation
may actually impact another Debtor or non-Debtor affiliate).

        As of the Petition Date, the Debtors estimate they have approximately one million current
and former patients (collectively, the “Patients”). The Debtors generally contract with their health
plan payors to deliver accountable care in exchange for receiving recurring capitated revenue from
the health plans, rather than interfacing with Patients in a fee-for-service context. Patients are,
thus, typically billed directly by their healthcare plans and not by the Debtors. In addition, pursuant
to the relief granted by the Court under the final refunds order [Docket No. 260] and the bar date
order [Docket No. 259], each dated March 5, 2024, the Debtors are authorized to pay any Patient
claims for refunds arising in the ordinary course of business and Patients need not file claims for
any such refund amount. Accordingly, to the best of the Debtors’ knowledge and belief, the
Debtors’ Patients do not hold claims against the Debtors and have not been listed individually in
the Schedules. Moreover, a determination of the amount of any claim that each of the Debtors’
current and former patients may hold would be unduly burdensome and cost prohibitive. However,
to the extent any current or former patient is a known creditor of the Debtors (e.g., medical
malpractice claimant, slip and fall claimant, etc.), the Debtors have endeavored to include such
parties in the Schedules.


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       Schedule E/F reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of an executory contract or unexpired lease.
In addition, Schedule E/F does not include rejection damage claims of the counterparties to the
executory contracts and unexpired leases that have been or may be rejected, to the extent such
damage claims exist.

        Except in certain limited circumstances, the Debtors have not scheduled contingent and
unliquidated liabilities related to guaranty obligations on Schedule E/F. Such guaranties are,
instead, listed on Schedule H.

        The claims of individual creditors for, among other things, goods, services, or taxes listed
on the Debtors’ books and records may not reflect credits or allowances due from such creditors.
The Debtors reserve all of their rights in respect of such credits or allowances. The dollar amounts
listed may be exclusive of contingent or unliquidated amounts.

        Unless the Debtors were required to pay ancillary costs, such as freight, miscellaneous fees
and taxes, such costs are not included in the liabilities scheduled, as such amounts do not represent
actual liabilities of the Debtor.

       Although the Debtors have made commercially reasonable efforts to identify all known
general unsecured claims, the Debtors may not have identified and/or set forth all such claims.

Specific Notes Regarding Schedule G

        While the Debtors’ existing books, records, and financial systems have been relied upon to
identify and schedule executory contracts on each of the Debtor’s Schedule G, and while the
Debtors have devoted substantial internal and external resources to identifying and providing the
requested information for as many executory contracts as possible and to ensuring the accuracy of
Schedule G, inadvertent errors, omissions, or over-inclusions may have occurred. The Debtors do
not make, and specifically disclaim, any representation or warranty as to the completeness or
accuracy of the information set forth on Schedule G. The Debtors hereby reserve all of their rights
to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth in
Schedule G and to amend or supplement Schedule G as necessary. The contracts, agreements,
and leases listed on Schedule G may have expired or may have been modified, amended, or
supplemented from time to time by various amendments, restatements, waivers, estoppel
certificates, letters, memoranda, and other documents, instruments, and agreements that may not
be listed therein despite the Debtors’ use of reasonable efforts to identify such documents. Further,
unless otherwise specified on Schedule G, each executory contract or unexpired lease listed
thereon shall include all exhibits, schedules, riders, modifications, declarations, amendments,
supplements, attachments, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or
unexpired lease, without respect to whether such agreement, instrument or other document is listed
thereon.




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       In some cases, the same supplier or provider appears multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and such
supplier or provider.

         In the ordinary course of business, the Debtors may have issued numerous purchase orders
for supplies, product, and related items which, to the extent that such purchase orders constitute
executory contracts, are not listed individually on Schedule G. To the extent that goods were
delivered under purchase orders prior to the Petition Date, vendors’ claims with respect to such
delivered goods are included on Schedule E/F. Similarly, in the ordinary course of business, the
Debtors may have issued numerous statements of work or similar documents for services which,
to the extent that such statements of work or similar documents constitute executory contracts, are
not listed individually on Schedule G. To the extent that services were delivered under statements
of work prior to the Petition Date, vendors’ claims with respect to such services are included on
Schedule E/F.

        As a general matter, certain of the Debtors’ executory contracts and unexpired leases could
be included in more than one category. In those instances, one category has been chosen to avoid
duplication. Further, the designation of a category is not meant to be wholly inclusive or
descriptive of the entirety of the rights or obligations represented by such contract.

        Certain of the executory contracts and unexpired leases listed on Schedule G may contain
certain renewal options, guarantees of payment, options to purchase, rights of first refusal, right to
lease additional space, and other miscellaneous rights. Such rights, powers, duties, and obligations
are not set forth separately on Schedule G. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as easements, rights of
way, subordination, nondisturbance, and attornment agreements, supplemental agreements,
amendments/letter agreements, title agreements, employment-related agreements, and
confidentiality and non-disclosure agreements. Such documents may not be set forth in Schedule
G.

        The Debtors hereby reserve all of their rights, claims, and causes of action with respect to
the contracts and agreements listed on Schedule G, including the right to dispute or challenge the
characterization or the structure of any transaction, document, or instrument related to a creditor’s
claim, to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth
in Schedule G, and to amend or supplement Schedule G as necessary. Inclusion of any agreement
on Schedule G does not constitute an admission that such agreement is an executory contract or
unexpired lease and the Debtors reserve all rights in that regard, including, without limitation, that
any agreement is not executory, has expired pursuant to its terms, or was terminated prepetition.

        In addition, certain of the agreements listed on Schedule G may be in the nature of
conditional sales agreements or secured financings. The presence of a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an executory
contract or unexpired lease. The Debtors reserve all of their rights, claims, and causes of action
with respect to the contracts and agreements listed on Schedule G, including the right to dispute or
challenge the characterization or the structure of any transaction, or any document or instrument
(including, without limitation, any intercreditor or intercompany agreement) related to a creditor’s
claim. Certain of the contracts, agreements, and leases listed on Schedule G may have been entered


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into by more than one of the Debtors. Further, the specific Debtor obligor to certain of the
executory contracts or unexpired leases could not be specifically ascertained in every
circumstance. In such cases, the Debtors used their best efforts to determine the correct Debtor’s
Schedule G on which to list such executory contract or unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous contracts or
agreements, both written and oral, regarding the provision of certain services on a month to month
basis. To the extent such contracts or agreements constitute executory contracts, these contracts
and agreements may not be listed individually on Schedule G.

        Certain of the executory contracts may not have been memorialized and could be subject
to dispute. Executory agreements that are oral in nature have not been included in Schedule G.

        Certain of the executory contracts and unexpired leases listed in Schedule G were assigned
to, assumed by, or otherwise transferred to certain of the Debtors in connection with, among other
things, acquisitions by the Debtors. The Debtors used their best efforts to determine the correct
Debtor’s Schedule G on which to list such executory contract or unexpired lease.

Specific Notes Regarding Schedule H

       The Debtors are party to various debt agreements, which were executed by multiple
Debtors. The Debtors may not have identified certain guarantees that are embedded in the Debtors’
executory contracts, unexpired leases, secured financings, debt instruments, and other agreements.
Further, certain of the guarantees reflected on Schedule H may have expired or may no longer be
enforceable. Thus, the Debtors reserve their rights to amend Schedule H to the extent that
additional guarantees are identified, or such guarantees are discovered to have expired or become
unenforceable.

        In the ordinary course of their business, the Debtors may be involved in pending or
threatened litigation and claims arising out of certain ordinary course of business transactions.
These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
cross-claims and counter-claims against other parties. Because such claims are contingent,
disputed, and/or unliquidated, such claims have not been set forth individually on Schedule H.
However, some such claims may be listed elsewhere in the Schedules and Statements.

         The inclusion of or failure to include any entity on Schedule H does not constitute a waiver
or an admission that such entity is a co-debtor or co-liable with respect to any pending or threatened
litigation. The Debtors reserve all rights with respect to any claims related to any pending or
threatened litigation.

Specific Notes Regarding Statements

       1.      Statements, Part 1, Question 1 – Gross Revenue from Business. The
information provided in response to this Statement reflects Gross Revenue by the Debtors in fiscal
year 2021, fiscal year 2022 and fiscal year 2023.




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       2.     Statements, Part 1, Question 2 – Non-Business Revenue. Debtors may receive
revenue from various other non-business sources of income which may not be listed in the
Statements. These other revenues are largely immaterial.

        3.      Statements, Part 2, Question 3 – Certain Payments or Transfers to Creditors
within 90 Days before the Petition Date. The information provided in response to this Statement
does not include insider payments (which transfers appear in the response to Part 2 Question 4),
transfers to bankruptcy professionals (which transfers appear in response to Part 6, Question 11)
or ordinary course compensation of individuals through salaries, wages, or related allowances.

        4.     Statements, Part 2, Question 4 – All Payments or Transfers to Insiders. Certain
of the Debtors’ directors and executive officers received distributions net of tax withholdings in
the year preceding the Petition Date. The amounts listed reflect the gross amounts paid to such
directors and executive officers rather than the net amounts after deducting for tax withholdings.
For the avoidance of doubt, the inclusion or omission of any individual in this Statement is not an
admission that such individual is or is not an insider of the Debtors.

        5.     Statements, Part 3, Question 7 – Legal Actions – While the Debtors believe they
were diligent in their efforts, it is possible that certain suits and proceedings may have been
inadvertently excluded in the Debtors’ response to this Statement. The Debtors reserve all of their
rights to amend or supplement their response to this Statement.

        6.      Statements, Part 6, Question 11 – Payments Related to Bankruptcy. All
payments for services of any entities that provided consultation concerning debt counseling or
restructuring services, relief under the Bankruptcy Code, or preparation of a petition in bankruptcy
within one year immediately preceding the Petition Date are listed on that Debtor’s response to
this Statement. Additional information regarding the Debtors’ retention of professional service
firms is more fully described in individual retention applications and related orders.

        7.      Statements, Part 13, Question 25 – Details About the Debtors’ Business or
Connections to Any Business. See Interest in Subsidiaries and Affiliates ¶ 21 in the Schedules
section of these Global Notes.

      8.      Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
The Debtors financials are publicly filed.

        9.      Statements, Part 13, Question 30 – Payments to Insiders. Disbursements to
insiders of the Debtors have been listed in response to Statements, Part 2, Question 4.




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   Part 1:     Income

1. Gross Revenue from business

       None




 Identify the Beginning and Ending Dates of the Debtor’s Fiscal Year, which    Sources of Revenue (Check all that      Gross
 may be a Calendar Year                                                        apply)                                Revenue
                                                                                                                      (Before
                                                                                                                    Deductions
                                                                                                                        and
                                                                                                                    Exclusions)

 From the beginning of the fiscal year   From    1/1/2023    to   12/31/2023      Operating a business              $250,538,363
 to filing date:                                MM/DD/YYY         MM/DD/YYY       Other



 For prior year                          From    1/1/2022    to   12/31/2022      Operating a business              $176,313,885
                                                MM/DD/YYY         MM/DD/YYY       Other



 For the year before that                From    1/1/2021    to   12/31/2021      Operating a business                       $0
                                                MM/DD/YYY         MM/DD/YYY       Other
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   Part 1:       Income

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                           Description of Sources of Revenue                                                  Gross
                                                                                                                                            Revenue
                                                                                                                                             (Before
                                                                                                                                           Deductions
                                                                                                                                               and
                                                                                                                                           Exclusions)

 None
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    Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers — including expense reimbursements — to any creditor, other than regular employee compensation, within 90 days before filing this case
unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with
respect to cases filed on or after the date of adjustment.)

        None

 Creditor's Name and Address                                                                 Dates        Total Amount          Reasons for Payment or Transfer
                                                                                                            or Value

 3.1 AA CORDERO, M.D., P.A.                                                               11/17/2023              $14,895         Secured debt
     8500 SW 92 ST #102 MIAMI, FL 33156                                                   12/15/2023              $15,780         Unsecured loan repayments
                                                                                            2/1/2024              $18,755         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                              TOTAL AA CORDERO, M.D., P.A.                        $49,430

 3.2 AC MEDICAL ASSOCIATES I, INC.                                                        11/17/2023              $10,050         Secured debt
     4770 BISCAYNE BLVD. SUITE 1450 MIAMI, FL 33137                                       12/15/2023               $9,610         Unsecured loan repayments
                                                                                            2/1/2024              $13,300         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                   TOTAL AC MEDICAL ASSOCIATES I, INC.                            $32,960

 3.3 ALEX K HSU & JUAN P LOY MD PA                                                        11/17/2023                 $755         Secured debt
     2964 N. STATE RD. 7, SUITE 210 MARGATE, FL 33063                                     12/15/2023                 $735         Unsecured loan repayments
                                                                                            2/1/2024               $2,340         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                 TOTAL ALEX K HSU & JUAN P LOY MD PA                               $3,830

 3.4 AMERICARE MEDICAL CENTER                                                             11/17/2023               $3,760         Secured debt
     8384 W OAKLAND PARK BLVD SUNRISE, FL 33351                                           12/15/2023               $3,340         Unsecured loan repayments
                                                                                            2/1/2024               $3,010         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                     TOTAL AMERICARE MEDICAL CENTER                               $10,110

 3.5 ANGELA GONZALEZ MD PA                                                                11/17/2023               $4,840         Secured debt
     13550 SW 88 ST MIAMI, FL 33186                                                       12/15/2023               $4,300         Unsecured loan repayments
                                                                                           2/2/2024                $4,300         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                          TOTAL ANGELA GONZALEZ MD PA                             $13,440

 3.6 ANTONIO ALEXIS PENA MD PA                                                            11/17/2023              $13,630         Secured debt
     8600 SW 92ND ST SUITE 101 MIAMI, FL 33156                                            12/15/2023              $12,090         Unsecured loan repayments
                                                                                            2/1/2024              $16,093         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                      TOTAL ANTONIO ALEXIS PENA MD PA                             $41,813

 3.7 ARTURO R. LOGRONO M.D , P.A.                                                         11/17/2023              $13,450         Secured debt
     1 S.W 129 AVE SUITE #201 PEMBROKE PINES, FL 33027                                    12/15/2023              $13,285         Unsecured loan repayments
                                                                                           2/1/2024               $14,657         Suppliers for vendors
                                                                                                                                  Services
                                                                                                                                  Other
                                                    TOTAL ARTURO R. LOGRONO M.D , P.A.                            $41,392

 3.8 BERTHA M. OLAZABAL, M.D.                                                             11/17/2023              $15,600         Secured debt
     5803 N.W. 151ST STREET, SUITE 107 MIAMI LAKES, FL 33014                               12/1/2023                 $900         Unsecured loan repayments
                                                                                          12/15/2023              $16,740         Suppliers for vendors
                                                                                                                                  Services
                                                                                            2/1/2024              $23,560
                                                                                                                                  Other
                                                        TOTAL BERTHA M. OLAZABAL, M.D.                            $56,800

 3.9 BETH AND HOWARD BRAVER, MD,PA                                                        11/17/2023               $9,310         Secured debt
     20950 NE 27 CT #200 AVENTURA, FL 33180                                               12/15/2023               $9,425         Unsecured loan repayments
                                                                   2/1/2024        $8,835   Suppliers for vendors
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                                                                                          Services
                                                                                            Other
                                  TOTAL BETH AND HOWARD BRAVER, MD,PA             $27,570

3.10 CARLOS M. MARILL, M.D., P.A.                                 11/17/2023       $6,720   Secured debt
     11440 SW 88 ST SUITE #206 MIAMI, FL 33176                    12/15/2023       $8,460   Unsecured loan repayments
                                                                   2/1/2024        $7,755   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                        TOTAL CARLOS M. MARILL, M.D., P.A.        $22,935

3.11 CCG OF SOUTH FLORIDA, LLC                                    11/17/2023       $5,985   Secured debt
     8251 W. BROWARD BLVD., SUITE 103 PLANTATION, FL 33324        12/15/2023       $5,785   Unsecured loan repayments
                                                                   2/1/2024        $6,620   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                        TOTAL CCG OF SOUTH FLORIDA, LLC           $18,390

3.12 COLONY SPRINGS MEDICAL CENTER , INC.                         11/17/2023       $2,400   Secured debt
     7737 N. UNIVERSITY DR SUITE 107 TAMARAC, FL 33321            12/15/2023       $2,430   Unsecured loan repayments
                                                                   2/1/2024        $4,705   Suppliers for vendors
                                                                                            Services
                                TOTAL COLONY SPRINGS MEDICAL CENTER ,                       Other
                                                                 INC.              $9,535

3.13 COMPREHENSIVE HEALTH & WELLNESS CENTERS PA                   11/17/2023       $2,455   Secured debt
     4040 SHERIDAN ST HOLLYWOOD, FL 33021                         12/15/2023       $2,455   Unsecured loan repayments
                                                                   2/1/2024        $2,455   Suppliers for vendors
                                                                                            Services
                                         TOTAL COMPREHENSIVE HEALTH &                       Other
                                                 WELLNESS CENTERS PA               $7,365

3.14 DAVID SIMON                                                  11/17/2023        $990    Secured debt
     101 S FEDERAL HWY LAKE WORTH, FL 33460                       12/15/2023        $990    Unsecured loan repayments
                                                                   2/1/2024         $990    Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                         TOTAL DAVID SIMON         $2,970

3.15 DEERFIELD BEACH MEDICAL CLINIC, PA                           11/17/2023       $6,560   Secured debt
     5300 W. HILLSBORO BLVD., #216 COCONUT CREEK, FL 33073        12/15/2023       $6,740   Unsecured loan repayments
                                                                   2/1/2024        $7,920   Suppliers for vendors
                                                                                            Services
                                 TOTAL DEERFIELD BEACH MEDICAL CLINIC,                      Other
                                                                   PA             $21,220

3.16 DENNIS A. CORTES, MD PA                                      11/17/2023       $2,015   Secured debt
     12600 PEMBROKE RD. SUITE 206 MIRAMAR, FL 33027               12/15/2023       $1,745   Unsecured loan repayments
                                                                   2/1/2024        $1,975   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                           TOTAL DENNIS A. CORTES, MD PA           $5,735

3.17 EMILIO PANDO MD, PA                                          11/17/2023      $15,590   Secured debt
     12781 MIRAMAR PKWAY SUITE #206 MIRAMAR, FL 33027             12/15/2023      $16,180   Unsecured loan repayments
                                                                   2/1/2024       $15,890   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                                 TOTAL EMILIO PANDO MD, PA        $47,660

3.18 FAMILY PHYSICIAN ASSOCIATES, INC.                            11/17/2023       $1,920   Secured debt
     4308 ALTON ROAD, SUITE 210 MIAMI BEACH, FL 33140             12/15/2023       $3,380   Unsecured loan repayments
                                                                   2/1/2024        $4,360   Suppliers for vendors
                                                                                            Services
                                                                                            Other
                                 TOTAL FAMILY PHYSICIAN ASSOCIATES, INC.           $9,660

3.19 FAMILY PRACTICE OF DAVIE, INC.                               11/17/2023       $2,870   Secured debt
     1150 NORTH UNIVERSITY DRIVE PEMBROKE PINES, FL 33024         12/15/2023       $2,870   Unsecured loan repayments
                                                                   2/1/2024        $4,900   Suppliers for vendors
                                                                                           Services
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                                                                                         Other
                                    TOTAL FAMILY PRACTICE OF DAVIE, INC.         $10,640

3.20 GEORGE BOCTOR, MD                                           11/17/2023       $5,700   Secured debt
     4701 N FEDERAL HWY #A-12 FT.LAUDERDALE, FL 33308            12/15/2023       $5,470   Unsecured loan repayments
                                                                  2/1/2024        $7,290   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                               TOTAL GEORGE BOCTOR, MD           $18,460

3.21 GERARDO J FRANCO DO PA                                      11/17/2023       $3,230   Secured debt
     11601 BISCAYNE BLVD SUITE 202 NORTH MIAMI, FL 33180         12/15/2023       $2,090   Unsecured loan repayments
                                                                  2/1/2024        $2,280   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                         TOTAL GERARDO J FRANCO DO PA             $7,600

3.22 GILBERT LEUNG MD , PA                                       11/17/2023       $6,710   Secured debt
     888 N.E. 126TH STREET, SUITE 101 NORTH MIAMI, FL 33161      12/15/2023       $6,575   Unsecured loan repayments
                                                                  2/1/2024        $6,075   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                              TOTAL GILBERT LEUNG MD , PA        $19,360

3.23 GILDA MARIA DE LA CALLE, M.D., P.A.                         11/17/2023      $10,850   Secured debt
     1435 WEST 49TH PLACE, SUITE 400-B HIALEAH, FL 33012         12/15/2023      $10,920   Unsecured loan repayments
                                                                  2/1/2024       $16,120   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                TOTAL GILDA MARIA DE LA CALLE, M.D., P.A.        $37,890

3.24 GORDON GRENN, D.O., P.A.                                    11/17/2023       $1,800   Secured debt
     4002 RAULERSON ROAD LAKE WORTH, FL 33463                    12/15/2023       $1,680   Unsecured loan repayments
                                                                  2/1/2024        $1,680   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                          TOTAL GORDON GRENN, D.O., P.A.          $5,160

3.25 GRISEL MAC WILLIAMS, M.D., P.A.                             11/15/2023      $13,780   Secured debt
     810 EAST 39TH PLACE HIALEAH, FL 33013                       12/15/2023      $14,650   Unsecured loan repayments
                                                                  2/1/2024       $17,325   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                    TOTAL GRISEL MAC WILLIAMS, M.D., P.A.        $45,755

3.26 GUTLEBER MEDICAL GROUP, INC.                                11/17/2023       $3,800   Secured debt
     139 N.E. 15 STREET HOMESTEAD, FL 33030                      12/15/2023       $3,700   Unsecured loan repayments
                                                                  2/1/2024        $4,410   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                    TOTAL GUTLEBER MEDICAL GROUP, INC.           $11,910

3.27 HECTOR FABREGAS, M.D., P.A.                                 11/17/2023       $1,680   Secured debt
     1740 LAKESHORE DRIVE WESTON, FL 33326                       12/15/2023       $1,770   Unsecured loan repayments
                                                                  2/1/2024        $5,561   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                       TOTAL HECTOR FABREGAS, M.D., P.A.          $9,011

3.28 HERMAN A. NADAL, M.D., P.A.                                 11/15/2023       $2,910   Secured debt
     6710 TAFT STREET HOLLYWOOD, FL 33024                        12/15/2023       $3,315   Unsecured loan repayments
                                                                  2/1/2024        $4,630   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                        TOTAL HERMAN A. NADAL, M.D., P.A.        $10,855

3.29 HERNANDO GIRALDO MD INC                                     11/17/2023       $6,000   Secured debt
     200 E HALLANDALE BLVD HALLANDALE BEACH, FL 33009            12/15/2023       $6,000   Unsecured loan repayments
                                                                  2/1/2024        $6,300   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                       Case 24-10164-KBO    Doc 298
                                   TOTAL HERNANDO      Filed
                                                  GIRALDO MD 03/07/24
                                                             INC                 Page 21 of 59
                                                                                 $18,300

3.30 INTERNAL MEDICINE ASSOCIATES OF FL, INC                        11/17/2023    $3,765   Secured debt
     601 N FLAMINGO RD SUITE 309 PEMBROKE PINES, FL 33028           12/15/2023    $3,780   Unsecured loan repayments
                                                                     2/1/2024     $5,375   Suppliers for vendors
                                                                                           Services
                                TOTAL INTERNAL MEDICINE ASSOCIATES OF                      Other
                                                               FL, INC           $12,920

3.31 JEFFREY P. GALLY, M.D., P.A.                                   11/17/2023    $2,700   Secured debt
     3880 COCONUT CREEK PARKWAY, SUITE 102 COCONUT CREEK,           12/15/2023    $2,570   Unsecured loan repayments
     FL 33066                                                                              Suppliers for vendors
                                                                     2/1/2024     $2,440
                                                                                           Services
                                                                                           Other
                                         TOTAL JEFFREY P. GALLY, M.D., P.A.       $7,710

3.32 JORGE L. BARBEITO, M.D., P.A.                                  11/17/2023    $2,530   Secured debt
     259 EAST 49TH STREET HIALEAH, FL 33013                         12/15/2023    $2,705   Unsecured loan repayments
                                                                     2/1/2024     $2,435   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                       TOTAL JORGE L. BARBEITO, M.D., P.A.        $7,670

3.33 JOSEPH I. CHI, M.D., P.A.                                      11/17/2023   $17,103   Secured debt
     5112 MAGGIONE STREET CORAL GABLES, FL 33146                    12/15/2023    $7,980   Unsecured loan repayments
                                                                     2/1/2024     $7,860   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                              TOTAL JOSEPH I. CHI, M.D., P.A.    $32,943

3.34 JOSHUA M. RYCUS, D.O. INC.                                     11/17/2023    $2,730   Secured debt
     9750 N.W. 33RD STREET, SUITE 114 CORAL SPRINGS, FL 33065       12/15/2023    $2,700   Unsecured loan repayments
                                                                     2/1/2024     $3,410   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                         TOTAL JOSHUA M. RYCUS, D.O. INC.         $8,840

3.35 JUVENAL E. MARTINEZ, M.D., P.A.                                11/17/2023   $21,940   Secured debt
     8900 S.W. 117TH AVENUE, SUITE C203 MIAMI, FL 33186                                    Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                     TOTAL JUVENAL E. MARTINEZ, M.D., P.A.       $21,940

3.36 KENDALL FAMILY MEDICAL CENTER, CORP.                           11/17/2023    $8,625   Secured debt
     11760 SW 40TH ST #112 MIAMI, FL 33175                          12/15/2023    $7,730   Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                 TOTAL KENDALL FAMILY MEDICAL CENTER,                      Other
                                                                CORP.            $16,355

3.37 LARRY LEVINSON D.O., P.A.                                      11/17/2023    $4,180   Secured debt
     4700 A SHERIDAN STREET HOLLYWOOD, FL 33021                     12/15/2023    $4,750   Unsecured loan repayments
                                                                     2/1/2024     $7,600   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                          TOTAL LARRY LEVINSON D.O., P.A.        $16,530

3.38 LEONCIO G. SANCHEZ, M.D., INC.                                 11/17/2023   $11,200   Secured debt
     155 WEST 49TH STREET HIALEAH, FL 33012                         12/15/2023   $11,075   Unsecured loan repayments
                                                                     2/1/2024    $12,280   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                     TOTAL LEONCIO G. SANCHEZ, M.D., INC.        $34,555

3.39 LOWELL A. ADKINS, M.D., P.A.                              11/17/2023         $2,835   Secured debt
     3135 WEST ATLANTIC BLVD., SUITE 14 & 15 POMPANO BEACH, FL 12/15/2023         $2,765   Unsecured loan repayments
     33069                                                                                 Suppliers for vendors
                                                                2/1/2024          $5,595
                                                                                           Services
                                                                                           Other
                                        TOTAL LOWELL A. ADKINS, M.D., P.A.       $11,195
                       Case 24-10164-KBO            Doc 298     Filed 03/07/24   Page 22 of 59
3.40 LUIS H. LUGO-ARRENDELL, M.D., P.A.                           11/17/2023     $17,079   Secured debt
     1840 WEST 49TH STREET, SUITE 510 HIALEAH, FL 33012           12/15/2023     $14,744   Unsecured loan repayments
                                                                   2/1/2024       $6,210   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                 TOTAL LUIS H. LUGO-ARRENDELL, M.D., P.A.        $38,033

3.41 MANUEL PEREZ-ESPINOSA, M.D., P.A.                            11/17/2023     $20,190   Secured debt
     3600 WEST FLAGLER STREET MIAMI, FL 33135                     12/15/2023     $20,065   Unsecured loan repayments
                                                                   2/1/2024      $20,990   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                 TOTAL MANUEL PEREZ-ESPINOSA, M.D., P.A.         $61,245

3.42 MARGATE FAMILY MEDICAL CENTER INC                            11/17/2023      $6,720   Secured debt
     3113 NORTH STATE ROAD 7 MARGATE, FL 33063                    12/15/2023      $6,240   Unsecured loan repayments
                                                                   2/1/2024       $5,600   Suppliers for vendors
                                                                                           Services
                                 TOTAL MARGATE FAMILY MEDICAL CENTER                       Other
                                                                 INC             $18,560

3.43 MARIA T GARCIA-RIVERA M.D.                                   11/17/2023      $2,875   Secured debt
     7600 SW 57TH AVE SUITE 102-A SOUTH MIAMI, FL 33143           12/15/2023      $2,870   Unsecured loan repayments
                                                                   2/1/2024       $3,755   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                        TOTAL MARIA T GARCIA-RIVERA M.D.          $9,500

3.44 MARLENE TAGES CORDOVA, D.O., P.A.                            11/15/2023      $7,870   Secured debt
     600 N. HIATUS RD. #201 PEMBROKE PINES, FL 33026                                       Unsecured loan repayments
                                                                                           Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                TOTAL MARLENE TAGES CORDOVA, D.O., P.A.           $7,870

3.45 MEDICAL ASSOCIATES OF TAMARAC                                11/17/2023     $10,880   Secured debt
     7875 WEST COMMERCIAL BLVD TAMARAC, FL 33351                  12/15/2023     $10,240   Unsecured loan repayments
                                                                   2/1/2024      $11,360   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                 TOTAL MEDICAL ASSOCIATES OF TAMARAC             $32,480

3.46 NOVA CAT INCORPORATION                                       11/17/2023      $1,100   Secured debt
     101 SOUTH FEDERAL HIGHWAY LAKE WORTH, FL 33460               12/15/2023      $1,210   Unsecured loan repayments
                                                                   2/1/2024       $1,210   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                          TOTAL NOVA CAT INCORPORATION            $3,520

3.47 ONEL CORRALES, M.D., P.A.                                    11/17/2023      $8,380   Secured debt
     4100 NW9 ST SUITE #101 MIAMI, FL 33126                       12/15/2023      $7,620   Unsecured loan repayments
                                                                   2/1/2024       $1,140   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                          TOTAL ONEL CORRALES, M.D., P.A.        $17,140

3.48 ORANGE CARE MEDICAL GROUP                                    11/17/2023      $2,470   Secured debt
     11011 SHERIDAN ST #302 COOPER CITY, FL 33026                 12/15/2023      $2,660   Unsecured loan repayments
                                                                   2/1/2024       $2,850   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                      TOTAL ORANGE CARE MEDICAL GROUP             $7,980

3.49 ORCHID MEDICAL GROUP, LLC                                    11/17/2023      $4,580   Secured debt
     6489 CORAL WAY MIAMI, FL 33155                               12/15/2023      $3,380   Unsecured loan repayments
                                                                   2/1/2024       $5,910   Suppliers for vendors
                                                                                           Services
                                                                                           Other
                                       TOTAL ORCHID MEDICAL GROUP, LLC           $13,870
3.50 PLANTATION MEDICAL CLINIC,
                       Case     P.A.
                             24-10164-KBO             Doc 298        12/1/2023
                                                                   Filed  03/07/24   $4,000 23 of
                                                                                     Page      Secured
                                                                                                  59 debt
     100 NW 82ND AVE PLANTATION, FL 33324                            12/15/2023       $4,000   Unsecured loan repayments
                                                                      2/1/2024        $3,800   Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                    TOTAL PLANTATION MEDICAL CLINIC, P.A.            $11,800

3.51 QUALITY MEDICAL ASSOCIATION OF WEST DELRAY INC                  11/17/2023       $2,905   Secured debt
     5258 LINTON BLVD SUITE #206 DELRAY BEACH, FL 33484              12/15/2023       $2,905   Unsecured loan repayments
                                                                      2/1/2024        $2,905   Suppliers for vendors
                                                                                               Services
                                  TOTAL QUALITY MEDICAL ASSOCIATION OF                         Other
                                                      WEST DELRAY INC                 $8,715

3.52 RICARDO O. CALONGE, MD, PA                                      11/17/2023       $3,610   Secured debt
     3661 S MIAMI AVE SUITE 401 MIAMI, FL 33133                      12/15/2023       $3,420   Unsecured loan repayments
                                                                      2/1/2024        $3,420   Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                         TOTAL RICARDO O. CALONGE, MD, PA            $10,450

3.53 ROSANNA BUIGAS, M.D., P.A.                                      11/17/2023       $4,545   Secured debt
     7265 SW 93 AVE SUITE #203 MIAMI, FL 33173                       12/15/2023       $4,845   Unsecured loan repayments
                                                                                               Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                          TOTAL ROSANNA BUIGAS, M.D., P.A.            $9,390

3.54 SEACREST MEDICAL GROUP, PA                                      11/17/2023        $150    Secured debt
     2848 S SEACREST BLVD BOYNTON BEACH, FL 33435                    12/15/2023        $130    Unsecured loan repayments
                                                                      2/1/2024         $150    Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                      TOTAL SEACREST MEDICAL GROUP, PA                 $430

3.55 SOUTH FLORIDA INTERNIST GROUP                                   11/17/2023       $1,140   Secured debt
     1312 SW 27 AVENUE MIAMI, FL 33145                               12/1/2023         $170    Unsecured loan repayments
                                                                     12/15/2023        $740    Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                   TOTAL SOUTH FLORIDA INTERNIST GROUP                $2,050

3.56 STEVEN FIELDS, M.D., P.A.                                       11/17/2023       $7,200   Secured debt
     7100 W 20 AVE # 311 HIALEAH, FL 33016                           12/15/2023       $7,050   Unsecured loan repayments
                                                                      2/1/2024        $6,750   Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                              TOTAL STEVEN FIELDS, M.D., P.A.        $21,000

3.57 TERESITA D. HERNANDEZ, M.D., P.A.                               12/15/2023       $3,600   Secured debt
     10020 SW 40TH ST MIAMI, FL 33165                                 2/1/2024        $3,670   Unsecured loan repayments
                                                                                               Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                   TOTAL TERESITA D. HERNANDEZ, M.D., P.A.            $7,270

3.58 TODD KAZDAN, D.O., PA                                           11/17/2023      $14,080   Secured debt
     6099 STIRLING ROAD #220 DAVIE, FL 33314                         12/15/2023      $13,760   Unsecured loan repayments
                                                                      2/1/2024       $13,120   Suppliers for vendors
                                                                                               Services
                                                                                               Other
                                                 TOTAL TODD KAZDAN, D.O., PA         $40,960

3.59 VIP MEDICAL CENTER, PLLC                                        11/17/2023       $3,350   Secured debt
     2500 E HALLANDALE BEACH BLVD #207 HALLANDALE BEACH, FL          12/15/2023       $3,320   Unsecured loan repayments
     33009                                                                                     Suppliers for vendors
                                                                      2/1/2024        $3,280
                                                                                               Services
                                                                                               Other
                                             TOTAL VIP MEDICAL CENTER, PLLC           $9,950
3.60 YANETH TRUJILLO, M.D., P.A.                              11/17/2023      $3,985    Secured debt
                        CaseSUITE
     14601 S.W. 29TH STREET,   24-10164-KBO       Doc 298
                                  209 MIRAMAR, FL 33027     Filed 03/07/24
                                                             12/15/2023      Page
                                                                             $4,045 24 of 59
                                                                                       Unsecured loan repayments
                                                               2/1/2024       $5,645    Suppliers for vendors
                                                                                        Services
                                                                                        Other
                                     TOTAL YANETH TRUJILLO, M.D., P.A.       $13,675
DGM MSO, LLC                     Case 24-10164-KBO                     Doc 298           Filed 03/07/24             Page 25 of 59 Case Number:                     24-10180


    Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every
3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such
affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

        None

 Insider's Name and Address and Relationship to Debtor                                          Dates              Amount        Reasons for Payment

 4.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                      Doc 298           Filed 03/07/24              Page 26 of 59 Case Number:                     24-10180


    Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

        None

 Creditor's Name and Address                                    Description of the property                                           Date                     Value of
                                                                                                                                                               property

 5.1 NONE
                                                                                                                                               TOTAL                       $0
DGM MSO, LLC                      Case 24-10164-KBO                      Doc 298           Filed 03/07/24              Page 27 of 59 Case Number:                      24-10180


    Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor
without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

        None

 Creditor's Name and Address                    Description of Action Creditor Took                      Date Action Taken             Account number                Amount

 6.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                     Doc 298          Filed 03/07/24             Page 28 of 59 Case Number:                    24-10180


    Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—
within 1 year before filing this case.

        None

 Caption of Suit and Case Number                       Nature of Proceeding                   Court or Agency and Address                      Status of Case

 7.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                      Doc 298          Filed 03/07/24              Page 29 of 59 Case Number:                       24-10180


    Part 3:      Legal Actions or Assignments

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver,
custodian, or other court-appointed officer within 1 year before filing this case.

        None

 Custodian's Name and Address                  Court Name and Address               Case Title and Number              Date       Description of property             Value

 8.1 NONE
DGM MSO, LLC                    Case 24-10164-KBO                   Doc 298          Filed 03/07/24            Page 30 of 59 Case Number:                   24-10180


   Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
recipient is less than $1,000

        None

 Recipient's Name and Address              Recipient's Relation to Debtor          Description of the Gifts and Contributions             Dates Given        Value

 9.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                    Doc 298          Filed 03/07/24             Page 31 of 59 Case Number:                                  24-10180


   Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

        None

 Description of the property lost and how the lost occored                                   Amount of                       Date of loss                            Value of
                                                                                             payments                                                              property lost
                                                                                            received for
                                                                                              the loss

                                                                                                    If you have received payments to cover the loss, for example, from
                                                                                                     insurance, govertnment compensation, or tort liability, list the total
                                                                                                   received. List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                                                                   Assets - Real and Personal Property).

 10.1 NONE
                                                                                                                                                  TOTAL                          $0
DGM MSO, LLC                     Case 24-10164-KBO                      Doc 298          Filed 03/07/24              Page 32 of 59 Case Number:                     24-10180


    Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy

ist any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

        None

 Who was Paid or Who                         Email / Website        Who Made the Payment, if not              If not Money, Describe any                 Dates       Value
 Received the Transfer?                                             Debtor                                    Property Transfered
 Address

 11.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                      Doc 298          Filed 03/07/24              Page 33 of 59 Case Number:                     24-10180


    Part 6:      Certain Payments or Transfers

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled
trust or similar device. Do not include transfers already listed on this statement.

        None

 Name of trust or Device                Trustee            Describe any Property Transfered                     Dates Transfers were Made                Total Amount /
                                                                                                                                                             Value

 12.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                    Doc 298           Filed 03/07/24             Page 34 of 59 Case Number:                   24-10180


    Part 6:      Certain Payments or Transfers

13. Transports not already listed on this statement

List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor within 2 years before
the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and
transfers made as security. Do not include gifts or transfers previously listed on this statement.

        None

 Name and Address of Transferee, Relationship to Debtor                      Description of Property               Date Transfer was Made              Total Amount
                                                                                                                                                         or Value

 13.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                    Doc 298          Filed 03/07/24             Page 35 of 59 Case Number:   24-10180


   Part 7:       Previous Locations

14. Previous Addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        None

 Adress                                                                                                         Dates of Occupancy

 14.1 NONE
DGM MSO, LLC                     Case 24-10164-KBO                    Doc 298           Filed 03/07/24         Page 36 of 59 Case Number:        24-10180


    Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

        None

 Facility Name and Address               Nature of the Business              Location Where Patient        If Debtor Provides       How are Records
                                         Operation, Including                Records are Maintained        Meals and Housing,       Kept?
                                         Type of Services the                (if Different from Facility   Number of Patients in
                                         Debtor Provides                     Address). If Electronic,      Debtor’s Care
                                                                             Identify any Service
                                                                             Provider.

 15.1 TOWN & COUNTRY                   CLINIC                               YES                                                    YES
      7555 WEST WATERS
      AVE TAMPA, FL 33619
DGM MSO, LLC                  Case 24-10164-KBO                  Doc 298         Filed 03/07/24   Page 37 of 59 Case Number:   24-10180


   Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

   No
   Yes. State the nature of the information collected and retained.
     Patient records

   Does the debtor have a privacy policy about that information?
      No
      Yes
DGM MSO, LLC                   Case 24-10164-KBO                  Doc 298         Filed 03/07/24           Page 38 of 59 Case Number:                 24-10180


   Part 9:       Personally Identifiable Information

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing
plan made available by the debtor as an employee benefit?

   No. Go to Part 10.
   Yes. Does the debtor serve as plan administrator?

      No. Go to Part 10.
      Yes. Fill in below:
       Describe:                                                                  EIN:

       Has the plan been terminated?
          No.
          Yes.
DGM MSO, LLC                     Case 24-10164-KBO                      Doc 298          Filed 03/07/24              Page 39 of 59 Case Number:                     24-10180


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved, or
transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
associations, and other financial institutions.

        None

 Financial Institution Name and Address                   Last 4 Digits of Acct Number               Type of Account              Date of Closing          Last Balance

 18.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                     Doc 298           Filed 03/07/24             Page 40 of 59 Case Number:                 24-10180


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

19. Safe deposit boxes

List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        None

 Depository Institution Name and                     Names of Anyone with Access to it                Description of the Contents            Does Debtor still have it?
 Address                                             and Address

 19.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                      Doc 298           Filed 03/07/24              Page 41 of 59 Case Number:                     24-10180


    Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
business.

        None

 Facility Name and Address              Names of Anyone with Access to it               Address        Description of the Contents            Does Debtor still have it?

 20.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                     Doc 298           Filed 03/07/24              Page 42 of 59 Case Number:                     24-10180


    Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
rented property.

        None

 Owner’s Name and Address                                 Location of the Property                            Description of the Property                             Value

 21.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                     Doc 298           Filed 03/07/24             Page 43 of 59 Case Number:                     24-10180


    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

        None

 Case Title and Case Number                         Court or Agency Name and Address                            Nature of Proceeding                     Status

 22.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                     Doc 298           Filed 03/07/24             Page 44 of 59 Case Number:                     24-10180


    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable under or in violation of an environmental law?

        None

 Site Name and Address                    Governmental Unit Name and Address                        Environmental Law, if Known                        Date of Notice

 23.1 NONE
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    Part 12:       Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected
(air, land, water, or any other medium)
■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or
utilized.
■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

24. Has the debtor notified any governmental unit of any release of hazardous material?

        None

 Site Name and Address                    Governmental Unit Name and Address                        Environmental Law, if Known                        Date of Notice

 24.1 NONE
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    Part 13:      Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

        None

 Business Name and Address               Describe the Nature of the                     Employer Identification Number (Do                  Dates Business Existed
                                         Business                                       not include SSN or ITIN)

 25.1 NONE
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   Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

        None

 Name and Address                                                                                                           Dates of Service

 26a.1 BRIAN D. KOPPY                                                                                                     4/5/2021 - 9/28/2023
       REDACTED

 26a.2 BRIAN LEON                                                                                                                 4/12/2021 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.3 ELADIO GIL                                                                                                                 1/9/2023 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.4 JOSE DANIEL GONZALEZ DOMINGUEZ                                                                                             12/6/2021 -
       9725 NW 117TH AVENUE MIAMI, FL 33178

 26a.5 MARK A. NOVELL                                                                                                    5/12/2021 - 10/9/2023
       REDACTED
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   Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement within 2 years before
filing this case.

        None

 Name and Address                                                                                                               Dates of Service

 26b.1 BDO USA,LLP                                                                                                                       -
       1450 BRICKELL AVE MIAMI, FL 33131

 26b.2 ERNST & YOUNG U.S. LLP                                                                                                            -
       200 SOUTH ORANGE AVE ORLANDO, FL 32801

 26b.3 KPMG LLP                                                                                                                          -
       8350 BROAD ST #900 MCLEAN, VA 22102
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    Part 13:      Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

        None

 Name and Address                                          If any Books of Account and Records are Unavailable, Explain Why

 26c.1 NONE
DGM MSO, LLC                      Case 24-10164-KBO                     Doc 298           Filed 03/07/24             Page 50 of 59 Case Number:                      24-10180


    Part 13:       Details About the Debtor's Business or Connections to Any Business

26. Books, records, and financial statements

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years
before filing this case.

        None

 Name and Address

                                                                                                                                                                              1
 26d.1 SEE FOOTNOTE
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Footnotes- Part 13, Question 26d

 1.Financial statements are publicly filed
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    Part 13:      Details About the Debtor's Business or Connections to Any Business

27. Inventories

Have any inventories of the debtor’s property been taken within 2 years before filing this case?

        None

 Name of the Person who Supervised the                    Name and Address of the Person who has         Date of Inventory   Dollar Amount   Basis
 Taking of the Inventory                                  Possession of Inventory Records

 27.1 NONE
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                 Statements – Part 13 – Question 25
      Other businesses in which the debtor has or had an interest
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   Part 13:      Details About the Debtor's Business or Connections to Any Business

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
debtor at the time of the filing of this case.

       None

 Name and Address                                             Positition and Nature of any Interest                        Percent of Interest, if any

 28.1 CANO HEALTH, LLC                                      MEMBER
      9725 NW 117TH AVENUE MIAMI, FL 33178
DGM MSO, LLC                   Case 24-10164-KBO                 Doc 298          Filed 03/07/24           Page 55 of 59 Case Number:                 24-10180


   Part 13:      Details About the Debtor's Business or Connections to Any Business

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the
debtor, or shareholders in control of the debtor who no longer hold these positions?

       None

 Name and Address                         Positition and Nature of Interest                             Period During Which Position Was Held

 29.1 NONE
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    Part 13:      Details About the Debtor's Business or Connections to Any Business

30. Payments, Distributions, or Withdrawals Credited or Given to Insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
loans, stock redemptions, and options exercised?

        None

 Name and Address of Recipient and Relationship to                            Amount        Amount Description           Dates      Reason for Providing the Value
 Debtor

 30.1 SEE SOFA PART 2, QUESTION 4                                                     -
                         TOTAL SEE SOFA PART 2, QUESTION 4                          $0

                                                                  TOTAL             $0
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   Part 13:      Details About the Debtor's Business or Connections to Any Business

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       None

 Name of Parent Corporation                                    Employer Identification Number of the Parent Corporation

 31.1 CANO HEALTH, INC.                                      XX-XXXXXXX
DGM MSO, LLC                  Case 24-10164-KBO                  Doc 298         Filed 03/07/24           Page 58 of 59 Case Number:   24-10180


   Part 13:      Details About the Debtor's Business or Connections to Any Business

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       None

 Name of Pension Fund                                           Employer Identification Number of the Pension Fund

 32.1 NONE
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    Part 14:         Signature and Declaration

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a resonable belief that the
information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on:           March 6, 2024




Signature: /s/ Eladio Gil                                             Eladio Gil, Interim Chief Financial Officer
                                                                      Name and Title




Are additional pages to the Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


  X No

      Yes
